                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA


JEFF DaROJA, INC.,                  :
                                             3:20-CV-1166
           Plaintiff                :
           v.
                                    :     (JUDGE MANNION)

ALEX KLEYNER, et al.,               :

                Defendants          :
                                 ORDER
     For the reasons set forth in the Memorandum of this date, IT IS

HEREBY ORDERED THAT:

    1. The defendants’ unopposed motion to dismiss plaintiff Jeff

      DaRoja, Inc.’s Mechanics’ Lien Claim on defendants’

      Property, (Doc. 4), is GRANTED and, Jeff DaRoja, Inc.’s

      Mechanics’ Lien Claim, (Doc. 2), is DISMISSED.

    2. The dismissal of DaRoja’s Mechanics’ Lien Claim on

      defendants’ Property is WITHOUT PRJUDICE to DaRoja’s

      right to pursue a civil action for damages against

      defendants, if appropriate.
         3. Attorney Farley’s unopposed motion to withdraw his

              appearance as counsel for plaintiff Jeff DaRoja, Inc.,

              (Doc. 13), is GRANTED.

         4. The clerk of court is directed to CLOSE this case.




                                           s/ Malachy E. Mannion
                                           MALACHY E. MANNION
                                           United States District Judge


Dated: February 24, 2021
20-1166-01-ORDER




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